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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY
                            NEWARK

                                   Minutes of Proceedings


Judge    Katharine S. Hayden                           9/23/08
                                                       Date of Proceedings

Court Reporter      Carmen Lilioa
Court Deputy        RoseMarie Guilloty

Title of Case:                                         Docket # 06-911

US v. Kirkland & Gamble

Appearances:

Douglas Herring, AUSA
Michael Wills, Esq for Kirkland
James Patton, Esq.

Nature of Proceeding:

Hearing held on (81) Motion to withdraw as counsel.
Court granted (81) motion and relieved Peter Willis as counsel for defendant Kirkland.
Court appointed James Patton, Esq as CJA counsel for defendant Kirkland.


Time in court: 1:00



                                                     RoseMarie Guilloty
                                                    RoseMarie Guilloty, Deputy Clerk
